                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                             Criminal No. 24-72 KMM/DJF

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Jerry Hal Saliterman,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that John Brink, Attorney ID 11587, is appointed as

counsel pursuant to 18 U.S.C. § 3006A.


Dated: March 15, 2024                          s/ Elizabeth Cowan Wright
                                               Honorable Elizabeth Cowan Wright
                                               United States Magistrate Judge
